                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

IRA D. SOCOL,                                  )
                                               )
               Plaintiff,                      )
                                               )       Case No.: 3:18cv00090
v.                                             )
                                               )
ALBEMARLE COUNTY                               )
SCHOOL BOARD, et al.,                          )
                                               )
               Defendants.                     )

                       RESPONSE IN OPPOSITION TO PLAINTIFF’S
                                MOTION TO STRIKE

       Defendants Albemarle County School Board and Matthew S. Haas, individually and in

his official capacity as Superintendent of Albemarle County Public Schools, by counsel, submits

this response in opposition to the plaintiff’s motion to strike.

                                            ARGUMENT

       In their Supplemental Memorandum in Support of their Motion to Dismiss, the

defendants attached four documents: the Report, the Statement, the Emails, and a fourth email

from Mr. Socol to Dr. Haas acknowledging fault for not complying with the procurement policy

and tendering his resignation. The Report, Statement, and Emails are all defined terms in the

Complaint and proposed First Amended Complaint.

       The court may consider documents attached or incorporated into the complaint, “as well

as those attached to the motion to dismiss, so long as they are integral to the complaint and

authentic.” See, e.g., Philips v. Pitt County Mem. Hosp., 572 F.3d 176, 180 (4th Cir. 2009);

Witthohn v. Fed. Ins. Co., 164 F. App'x 395, 396–97 (4th Cir. 2006) (a court may consider




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official public records, documents central to plaintiff's claim, and documents sufficiently referred

to in the complaint so long as the authenticity of these documents is not disputed).

       The plaintiff acknowledges that the Report and the Statement are “integral to and

explicitly relied on in the complaint.” He takes issue, however, with the Court considering the

documents identified as Emails attached as Exhibit C and the fourth email attached as Exhibit D.

       The Court should consider the Emails attached as Exhibit C for the same reason that it

should consider the Report and Statement. The plaintiff refers to these Emails to such a great

extent in his complaint and proposed amended complaint that he creates a defined term with

which to reference them. Moreover, the Emails are documents upon which the Report relies, in

part, in reaching the conclusions stated in the Report and should be read together for

completeness. As the Emails are “sufficiently referred to in the complaint,” and the plaintiff

does not object to their authenticity in his motion to strike, the Court may properly rely upon

them in ruling upon the motion to dismiss without converting the motion into a motion for

summary judgment.

       With respect to the email attached as Exhibit D, although it is evidence that even Mr.

Socol believed that the School Board had a sufficient basis upon which to terminate his

employment and that Mr. Socol’s liberty interest violation and defamation claims are not well-

founded, the defendants acknowledge that the use of the email in the motion to dismiss stage

may have been premature. The defendants’ do not, however, concede that the plaintiff has

otherwise stated a claim for a violation of his liberty interest or defamation for the reasons

articulated in their previous memoranda and in oral argument on their motion to dismiss.




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                                         CONCLUSION

       For the foregoing reasons, defendants Albemarle County School Board and Matthew S.

Haas, individually and in his official capacity as Superintendent of Albemarle County Public

Schools, by counsel, move this Court to deny the plaintiff’s motion to strike and for such other

and further relief as the nature of this case may require and this Court deems appropriate.

                                                             Respectfully submitted,

                                                             ALBEMARLE COUNTY SCHOOL
                                                             BOARD and
                                                             MATTHEW S. HAAS, individually
                                                             and in his official capacity as
                                                             Superintendent of Albemarle County
                                                             Public Schools,


                                                             /s/ Jennifer D. Royer
                                                                    Of Counsel

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Counsel for Defendants

                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of March, 2019, I have electronically filed this
document with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the following:

Jeffrey R. Adams, Esq.
Lucas I. Pangle, Esq.
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